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12 Attorneys for Defendant BANK OF AMERICA, N.A.
13
14                                UNITED STATES DISTRICT COURT

15              NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION

16
     SERGIO MARQUEZ, an individual, on behalf         CASE NO. 4:17-cv-00555-CW
17 of himself and all others similarly situated,
                                                      [PROPOSED] ORDER OF DISMISSAL
18                  Plaintiff,                        WITH PREJUDICE
19
     v.
20
     BANK OF AMERICA, N.A., et al.,
21
                    Defendants.
22
23
24           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sergio Marquez’s

25 claims against Defendant Bank of America, N.A. are hereby dismissed WITH PREJUDICE. Each
26 ///
27 ///
28 ///

                             [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
        Case 4:17-cv-00555-CW Document 113 Filed 09/21/18 Page 2 of 2




 1 party to this stipulation shall bear his/its own costs, including attorneys’ fees.
 2          IT IS SO ORDERED.

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               September 21
 4 DATED: ___________________, 2018




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                             [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
